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                                         UNPUBLISHED

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT


                                         No. 10-5307


        UNITED STATES OF AMERICA,

                          Plaintiff - Appellee,

                     v.

        RUSSELL JONES, a/k/a Nosebleed, a/k/a Bleed,

                          Defendant - Appellant.



        Appeal from the United States District Court for the District of
        Maryland, at Baltimore.     William D. Quarles, Jr., District
        Judge. (1:09-cr-00288-WDQ-22)


        Submitted:     August 15, 2011                    Decided:    September 7, 2011


        Before WILKINSON, MOTZ, and WYNN, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        Joseph J. Gigliotti, Riverdale, Maryland, for Appellant. Traci
        L. Robinson, OFFICE OF THE UNITED STATES ATTORNEY, Baltimore,
        Maryland, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

                         Russell     Jones        appeals      his    conviction       and    210-month

        sentence for one count of conspiracy to distribute and possess

        with intent to distribute a controlled substance in violation of

        21 U.S.C. § 846 (2006).                   Counsel has filed a brief in this court

        pursuant         to     Anders       v.     California,         386    U.S.     738       (1967),

        certifying that there are no meritorious issues for appeal but

        questioning whether Jones was properly sentenced as a career

        offender.         We affirm.

                         We    review    a    sentence         for     reasonableness         under     an

        abuse-of-discretion standard.                     Gall v. United States, 552 U.S.

        38, 51 (2007).              This review requires consideration of both the

        procedural and substantive reasonableness of a sentence.                                       Id.

        First,      we     must     assess        whether      the     district       court       properly

        calculated            the   Guidelines       range,          considered       the    18     U.S.C.

        § 3553(a) (2006) factors, analyzed any arguments presented by

        the parties, and sufficiently explained the selected sentence.

        Id. at 49-50; see United States v. Lynn, 592 F.3d 572, 576

        (4th Cir. 2010) (“[A]n individualized explanation must accompany

        every sentence.”); United States v. Carter, 564 F.3d 325, 330

        (4th Cir. 2009)             (same).          An       extensive       explanation         is   not

        required as long as we are satisfied “‘that [the district court]

        has considered the parties’ arguments and has a reasoned basis

        for       exercising        [its]     own     legal      decisionmaking             authority.’”

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        United States v. Engle, 592 F.3d 495, 500 (4th Cir.) (quoting

        Rita v. United States, 551 U.S. 338, 356 (2007)), cert. denied,

        131 S. Ct. 165 (2010).

                     Here, Jones questions on appeal whether the district

        court properly sentenced him as a career offender.                         The pre-

        sentence report (PSR) indicated that because Jones has two prior

        state     felony    convictions        for   possession        with     intent    to

        distribute heroin and one felony conviction for assault, he is a

        career offender.          (Vol. II J.A. 65).          Jones states that the

        cases were consolidated and sentenced together, and thus are not

        separate    convictions     for   the    purpose    of   the      career   offender

        enhancement.

                     The career offender guideline applies to those cases

        in which:

              (1) the defendant was at least eighteen years old at
              the time the defendant committed the instant offense
              of conviction; (2) the instant offense of conviction
              is a felony that is either a crime of violence or a
              controlled substance offense; and (3) the defendant
              has at least two prior felony convictions of either a
              crime of violence or a controlled substance offense.

        USSG § 4B1.1(a).         To qualify, prior sentences must be “counted

        separately under the provisions of [USSG] § 4A1.1(a), (b), or

        (c).”      USSG § 4B1.2(c).        “Prior sentences always are counted

        separately if the sentences were imposed for offenses that were

        separated     by   an    intervening    arrest     (i.e.,   the       defendant   is

        arrested for the first offense prior to committing the second

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        offense).”             USSG     § 4A1.2(a)(2)            (defining        the     term      “prior

        sentence” as used in § 4A1.1).

                         The    PSR    indicated       that          while    Jones’s     state     felony

        possession         with       intent    to     distribute             heroin     offenses      were

        sentenced on the same day, one (State Case No. 203052003) was

        committed on August 8, 2003, while the second (State Case No.

        103206003) was committed on June 24, 2003.                               Thus, the offenses

        were      separate      and     Jones    was       properly          sentenced    as    a    career

        offender.

                         In accordance with Anders, we have reviewed the record

        in this case and have found no meritorious issues for appeal.

        We therefore affirm the district court’s judgment.                                     This court

        requires that counsel inform Jones, in writing, of the right to

        petition     the       Supreme       Court    of       the    United     States      for    further

        review.      If Jones requests that a petition be filed, but counsel

        believes that such a petition would be frivolous, then counsel

        may       move     in     this        court        for        leave      to    withdraw        from

        representation.           Counsel’s motion must state that a copy thereof

        was served on Jones.

                         We dispense with oral argument because the facts and

        legal      contentions         are     adequately            presented    in     the    materials

        before      the    court       and    argument         would     not     aid   the     decisional

        process.

                                                                                                   AFFIRMED

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